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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

 CORDARIUS MORRIS,                                }
                                                  }
        Plaintiff,                                }
                                                  }
 v.                                               }    Case No.: 2:24-cv-01113-RDP
                                                  }
 SIDARRIUS BARNES, et al.,                        }
                                                  }
        Defendants.                               }


                          MEMORANDUM OPINION AND ORDER

       Before the court is the Motion to Dismiss (Doc. # 8) filed by Defendant City of Irondale.

Pursuant to the court’s conversation with counsel at the Scheduling Conference held on November

22, 2024, the Motion (Doc. # 8) is GRANTED WITHOUT PREJUDICE to Plaintiff’s right to

reassert any viable claim against the City.

I.     Background

       This action arises from an alleged incident involving Plaintiff CorDarrius Morris

(“Plaintiff”) and Defendant Officer SirDarrius Barnes (“Officer Barnes”). In his Complaint,

Plaintiff contends that while working his security job at an apartment complex in Birmingham,

Alabama, Officer Barnes approached Plaintiff’s vehicle and requested his identification. (Doc. #

1 ¶¶ 5-7). After providing Officer Barnes with his identification, Officer Barnes then entered

Plaintiff’s vehicle and began to search it without Plaintiff’s consent. (Id. ¶¶ 15-16). Following the

search of the vehicle, Officer Barnes then began to search Plaintiff’s person, again without his

consent. (Id. ¶ 20). Plaintiff contends that Officer Barnes inappropriately touched him for a period

of time and made inappropriate comments while touching him. (Id. ¶¶ 21-49). In particular,

Plaintiff contends that “Barnes used his power as a police officer to detain [him] for over 20
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minutes while also invading his privacy by holding his genitals for almost the duration of the

detention.” (Id. ¶ 55). At the scheduling conference, Defendants’ counsel stated that this is a case

of misidentification – Barnes was not the person who entered Plaintiff’s car and engaged in the

conduct at issue on the date in question.

II.    Legal Standard

       The Federal Rules of Civil Procedure require that a complaint provide “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

However, the complaint must include enough facts “to raise a right to relief above the speculative

level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Pleadings that contain nothing more

than “a formulaic recitation of the elements of a cause of action” do not meet Rule 8 standards,

nor do pleadings suffice that are based merely upon “labels and conclusions” or “naked

assertion[s]” without supporting factual allegations. Id. at 555, 557. In deciding a Rule 12(b)(6)

motion to dismiss, courts view the allegations in the complaint in the light most favorable to the

non-moving party. Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295 (11th Cir. 2007).

       To survive a motion to dismiss, a complaint must “state a claim to relief that is plausible

on its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although “[t]he

plausibility standard is not akin to a ‘probability requirement,’” the complaint must demonstrate

“more than a sheer possibility that a defendant has acted unlawfully.” Id. A plausible claim for

relief requires “enough fact[s] to raise a reasonable expectation that discovery will reveal

evidence” to support the claim. Twombly, 550 U.S. at 556.




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          In considering a motion to dismiss, a court should “1) eliminate any allegations in the

complaint that are merely legal conclusions; and 2) where there are well-pleaded factual

allegations, ‘assume their veracity and then determine whether they plausibly give rise to an

entitlement to relief.’” Kivisto v. Miller, Canfield, Paddock & Stone, PLC, 413 F. App’x 136, 138

(11th Cir. 2011) (quoting Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010)).

That task is context specific and, to survive the motion, the allegations must permit the court based

on its “judicial experience and common sense . . . to infer more than the mere possibility of

misconduct.” Iqbal, 556 U.S. at 679. If the court determines that well-pleaded facts, accepted as

true, do not state a claim that is plausible, the claims are due to be dismissed. Twombly, 550 U.S.

at 570.

III.      Analysis

          Plaintiff brings two claims against Officer Barnes pursuant to Section 1983: (1) false arrest

(id. ¶¶ 57-59) and (2) unreasonable search. (Id. ¶¶ 64-67). He brings one claim against the City of

Irondale for negligent hiring, training, and supervision. (Id. ¶¶ 60-63). Specifically, Plaintiff

alleges that the City of Irondale “had notice or knowledge of Barnes’s committing similar

infractions in the past” and that even if the City of Irondale “did not have actual knowledge or

notice, it would have learned of Barnes’s previous infractions through due and proper diligence.”

(Id. ¶¶ 61-62). Further, Plaintiff contends that “the hiring official for Defendant was unskilled and

careless in the hiring, training, and supervision of Defendant Barnes.” (Id. ¶ 63). In this order, the

court only considers the claim against the City of Irondale.

          As the City of Irondale states in its Motion to Dismiss (Doc. # 8), a state-law claim for

negligent hiring, training, and supervision cannot be asserted against a municipality. See Stewart

v. City of Homewood, Ala., 2019 WL 5696183, at *7 (N.D. Ala. Nov. 4, 2019) (“[N]o Alabama



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court has recognized as legally cognizable a claim against a municipality for a supervisor’s

negligent training or supervision.”); see also Borton v. City of Dothan, 734 F. Supp. 2d 1237, 1258

(M.D. Ala. 2010); Cornelius v. City of Andalusia, 2007 WL 4224036, at *5 (M.D. Ala. Nov. 28,

2007); Ott v. City of Mobile, 169 F. Supp. 2d 1301, 1314-15 (S.D. Ala. 2001); Styron v. City of

Foley, 2005 WL 3088926, at *4-5 (S.D. Ala. Nov. 18, 2005). Thus, based on Alabama law,

Plaintiff’s claim against the City of Irondale is due to be dismissed.

       However, the court’s dismissal as to the City is without prejudice. Nothing in this order

will preclude Plaintiff from asserting any viable cause of action against the City of Irondale.

Plaintiff has leave to amend his complaint until March 14, 2025. Plaintiff may determine before

then that he can assert other causes of action against the City of Irondale and thereby file an

amended complaint. However, before filing any amended complaint asserting a new claim against

the City, Plaintiff must serve the amended complaint on the City of Irondale and meet and confer

with Defendants’ counsel. In any event, absent good cause, any such amendment must be filed on

or before March 14, 2025.

IV.    Conclusion

       For the reasons discussed above, the City of Irondale’s Motion to Dismiss (Doc. # 8) is

GRANTED. Plaintiff’s claim against the City of Irondale in his Complaint (Doc. # 1) is

DISMISSED WITHOUT PREJUDICE.

       DONE and ORDERED this November 25, 2024.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              CHIEF U.S. DISTRICT JUDGE




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